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      UNITED STATES DISTRICT COURT
      WESTERN DISTRICT OF NEW YORK


      United States of America
                                                                              Decision and Order
                     v.                                                           12-CR-83S

      John W. Coronado, Jr.,

                                            Defendant.



 I.      INTRODUCTION AND BACKGROUND
             On March 23, 2016, the Court replaced prior assigned counsel for defendant John

      Coronado (“Coronado”) with attorney Alan Hoffman. Through Mr. Hoffman, Coronado has

      focused most of his pretrial time and energy seeking to suppress certain statements that he made

      during a custodial interrogation on December 22, 2014. (Dkt. No. 321 at 2–7.) The Court has

      issued a separate Report and Recommendation addressing the suppression motion. In this brief

      Decision and Order, the Court addresses the non-dispositive motions that Coronado filed through

      Mr. Hoffman. Coronado’s joinder of his codefendants’ pretrial motions (Dkt. Nos. 216, 302)

      remains in effect, to the extent that any of those pretrial motions affect Coronado. Given the

      extensive record that has developed, the Court will presume general familiarity with the

      background of the case.

II.      DISCUSSION
             A. Motion for Discovery
             In this motion, Coronado seeks the same voluminous discovery offered to his

      codefendants when they prepared omnibus pretrial motions and he did not. (Dkt. No. 321 at 7–
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8.) The discovery request includes a request for recorded jail telephone calls, even if the calls do

not involve Coronado. The Government responds that it has furnished all required discovery

under Rule 16 and that it will supplement its responses as needed. (Dkt. No. 328 at 5–6.) With

all of the additional discovery that occurred as part of the suppression hearing (Dkt. No. 391),

Coronado’s discovery motion might be moot by now. To the extent, however, that any specific

requests remain outstanding, the Government is directed either to furnish the information or to

provide notice of an objection to production. The Court grants Coronado’s motion to this

limited extent and denies it to the extent that it seeks any other relief.

         B. Motion for Brady / Jencks / Giglio Material
         In this motion, Coronado seeks “the immediate disclosure of all exculpatory and/or

impeaching material in the prosecution’s possession, control, or which is otherwise known to the

prosecution, including but not limited to all items set forth below.” (Dkt. No. 321 at 8.)

Coronado effectively seeks information subject to disclosure under Brady v. Maryland, 373 U.S. 83

(1963), the Jencks Act, 18 U.S.C. § 3500, and Giglio v. U.S., 405 U.S. 150 (1972). Coronado then

lists a number of discovery items including statements by witnesses or unindicted codefendants;

information about cooperation agreements; and information about any identification techniques

used in the case. The Government responds that many of Coronado’s requested items are not

covered by Brady and that it will furnish Brady material as required in Judge Skretny’s eventual trial

order.

         “[S]uppression by the prosecution of evidence favorable to an accused upon request

violates due process where the evidence is material either to guilt or to punishment, irrespective of

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the good faith or bad faith of the prosecution . . . . Society wins not only when the guilty are

convicted but when criminal trials are fair; our system of the administration of justice suffers when

any accused is treated unfairly.” Brady, 373 U.S. at 87. The Brady rule covers situations “[w]hen

the reliability of a given witness may well be determinative of guilt or innocence.” Giglio, 405 U.S.

at 154 (internal quotation marks and citation omitted); accord U.S. v. Bagley, 473 U.S. 667, 676

(1985) (plurality opinion) (“Impeachment evidence, however, as well as exculpatory evidence, falls

within the Brady rule.”) (citing Giglio). When considering information that might fall under the

Brady rule, “[t]he question is not whether the defendant would more likely than not have received

a different verdict with the evidence, but whether in its absence he received a fair trial, understood

as a trial resulting in a verdict worthy of confidence.” Kyles v. Whitley, 514 U.S. 419, 434 (1995).

The Government does not necessarily have to await a defense request to produce information that

falls under the Brady rule, but neither does it need to adopt an “open file policy.” See id. at 437; see

also U.S. v. Payne, 63 F.3d 1200, 1208 (2d Cir. 1995) (“Under Brady and its progeny, the

government has an affirmative duty to disclose favorable evidence known to it, even if no specific

disclosure request is made by the defense. The individual prosecutor is presumed to have

knowledge of all information gathered in connection with the government’s investigation.”)

(citations omitted). Also, “[e]vidence is not ‘suppressed’ if the defendant either knew, or should

have known, of the essential facts permitting him to take advantage of any exculpatory evidence.”

U.S. v. LeRoy, 687 F.2d 610, 618 (2d Cir. 1982) (citations omitted). As for the timing of Brady

disclosure, “[i]t is not feasible or desirable to specify the extent or timing of disclosure Brady and its

progeny require, except in terms of the sufficiency, under the circumstances, of the defense’s

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opportunity to use the evidence when disclosure is made. Thus disclosure prior to trial is not

mandated. Indeed, Brady requires disclosure of information that the prosecution acquires during

the trial itself, or even afterward . . . . At the same time, however, the longer the prosecution

withholds information, or (more particularly) the closer to trial the disclosure is made, the less

opportunity there is for use.” Leka v. Portuondo, 257 F.3d 89, 100 (2d Cir. 2001) (citations

omitted).

        Here, the Government has acknowledged its affirmative obligations for disclosure under

Brady, the Jencks Act, and Giglio, and has committed to making disclosures within the time that

Judge Skretny will set in the eventual trial order. The Government’s commitment will suffice,

absent a showing that a different arrangement is necessary in this case. The Court accordingly

denies Coronado’s motion but without prejudice to renew before Judge Skretny as needed.

        C. Motion for Severance
        Finally, Coronado has made a motion to sever his trial from any trial involving his

codefendants. (Dkt. No. 322.) As noted last year in the Decision and Order addressing similar

requests by Coronado’s codefendants (Dkt. No. 302), this Court has a practice of deferring

severance motions to the District Judge, who is in a better position to determine whether two or

more trials in a case would better preserve defendants’ rights. The Court will maintain that

practice here. The Court defers ruling on the motion and will allow Coronado to pursue relief

before Judge Skretny as he sees fit.




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III.      CONCLUSION
              The Court grants in part or defers on Coronado’s remaining non-dispositive motions (Dkt.

       Nos. 321, 322) as noted above.

              SO ORDERED.

                                                  __/s Hugh B. Scott________
                                                  Hon. Hugh B. Scott
                                                  United States Magistrate Judge
       DATED: July 10, 2017




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